       Case 2:25-cv-00325-WB       Document 20-1      Filed 03/03/25    Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 HOLLY MAGALENGO on behalf of her               :
 daughter, A.M., a minor,                       : Civil Action No. 2:25-cv-00325
                          Plaintiff             :
                                                :
               v.                               :
                                                :
 UNITED STATES DEPARTMENT OF                    :
 EDUCATION, PENNSYLVANIA                        :
 INTERSCHOLASTIC, INC., QUAKERTOWN              :
 COMMUNITY SCHOOL DISTRICT, and                 :
 COLONIAL SCHOOL DISTRICT,                      :
                     Defendants                 :


                                         ORDER


        AND NOW ______________ DAY OF ________________, upon consideration of

Plaintiff’s Motion for Temporary Restraining Order, Defendant Colonial School District’s

response in opposition to the motion and following a hearing, it is hereby ORDERED that the

Motion for Temporary Restraining Order is DENIED.


                                                 BY THE COURT:


                                                 _______________________
                                                  Wendy Beetlestone,   J.




168743999.1
